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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Mountains of Spices LLC,                           No. CV-21-01497-PHX-JAT
10                  Plaintiff,                          ORDER
11   v.
12   Sara Lihong Wei Lafrenz, Xiuzhu Wei,
     Maywind Trading LLC, Jian Peng, Qishen
13   Chen, and Jianjun Wang,
14                  Defendants.
15
16          Counsel David E. Hutchinson and William John Quinlan filed this case in Federal
17   Court in Arizona on behalf of Plaintiff on August 31, 2021. Thus, service was due on the
18   six Defendants by November 29, 2021. See Fed. R. Civ. P. 4(m). The Court will
19   summarize the record regarding service for each Defendant.
20          There is no proof of service on file for Sara Lihong Wei Lafrenz.
21          There is no proof of service on file for Xiuzhu Wei.
22          There is no proof of service on file for Maywind Trading LLC.
23          There is no proof of service on file for Jian Peng.
24          On November 12, 2021, Jianjun Wang, pro se, has filed an answer, which includes
25   a motion to dismiss. (Doc. 13). Specifically, the motion to dismiss is at pages 8-11, which
26   were docketed in reverse order. Plaintiff has not responded to this document.
27          A person named Qishen Chen was served with a summons in this case. (Doc. 11).
28   Qishen Chen, pro se, returned this summons to the Clerk’s office and explained that he did
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 1   not believe he was the person identified in the complaint. (Id.). Qishen Chen also stated
 2   that he had reached out to Plaintiff’s counsel, who failed to respond to him. Proof of service
 3   for service on Qishen Chen has never been filed with this Court.
 4          Qishen Chen suggested, seemingly based on his own research, that the person
 5   Plaintiff really seeks is Qisheng Chen. (Id.). Thereafter, Plaintiff filed a proof of service
 6   for Quisheng Chen (a third spelling of this name), at the address suggested by Qishen Chen.
 7   (Doc. 12). As indicated above, the only version of this name that appears in the complaint
 8   and amended complaint is Qishen Chen.
 9          Before counsel uses this Court’s subpoena power to compel someone to respond in
10   Federal Court, the Court deems it to be counsel’s duty to make sure counsel is serving the
11   right person. At this point, there is evidence that Plaintiff may have served the wrong
12   person when Plaintiff served Qishen Chen (Doc. 11), but Plaintiff has not moved to quash
13   this service if it was in fact mistaken. There is also evidence that Plaintiff served Quisheng
14   Chen, who is not named as a Defendant in the complaint. More concerningly, counsel
15   appears to have used an address suggested by a pro se to serve this non-defendant.
16          The Court will quash the proof of service at Doc. 12 because the “defendant” named
17   therein is not a defendant named in the complaint. The Court will also quash the service
18   on the Qishen Chen who filed Doc. 11 (even though Plaintiff did not file this proof of
19   service in the record), because the Court deems Plaintiff’s efforts to serve a “new” Qishen
20   Chen to be an admission that the Qishen Chen in Doc. 11 is the wrong person.
21          The Court will further require Plaintiff to show cause why all Defendants who have
22   not been timely served should not be dismissed.
23          Thus,
24          IT IS ORDERED that the service evidenced by Doc. 11 is quashed. The Qishen
25   Chen who filed Doc. 11 has no further obligation to respond in this case unless he is served
26   with a new summons and complaint. (Plaintiff may not re-serve this Qishen Chen without
27   prior Court approval). The Clerk of the Court shall send a copy of this Order to Qishen
28   Chen at the address listed in Doc. 11 at page 24.


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 1         IT IS FURTHER ORDERED that the proof of service at Doc. 12 is quashed
 2   because it purports to serve someone who is not named as a Defendant in the amended
 3   complaint.
 4         IT IS FURTHER ORDERED that, by December 9, 2021, Plaintiff shall show
 5   cause why Defendants Qishen Chen, Sara Lihong Wei Lafrenz, Xiuzhu Wei, Maywind
 6   Trading LLC, and Jian Peng should not be dismissed for failure to serve within the time
 7   limits of Federal Rule of Civil Procedure 4(m).
 8         IT IS FURTHER ORDERED that Plaintiff shall respond to the motion to dismiss
 9   at pages 8-11 of Doc. 13 by December 9, 2021 or the Court will deem the failure to respond
10   to be consent to the motion being granted. See Local Rule Civil 7.2(i). The Clerk of the
11   Court shall update the docket to reflect that Doc. 13 is both an answer and a motion to
12   dismiss.
13         Dated this 2nd day of December, 2021.
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